                                      RONCO HOLDINGS, INC.
                                       MASTER SERVICE LIST
                                 BANKRUPTCY CASE NO. 18-10511-TMD
                                          June 13, 2018

Debtor                           Twenty Largest Unsecured             John C. Kleinert
Ronco Holdings, Inc.             Allegro Response Teleservices        1800 Route 34 North
1108 Lavaca Street #110-340      4301 William Cannon Drive            Building 4, Suite 404A
Austin, Texas 78701              Suite B-150-179                      Wall, NJ 07719
                                 Austin, TX 78749
Debtor’s Counsel                                                      KAR Vista Business Park LLC
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                                 CHINA-BASE NINGBO FOREIGN
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Office of the U.S. Trustee       Yinzhou District, Ningbo             Suite 1100
903 San Jacinto, Room 230                                             Miami, FL 33131
Austin, TX 78701                 Dynamics Southwest, Inc.
                                 101 Southwestern Blvd. Suite 298     OneTouchPoint -Ginny's Printing
Secured Creditors                Sugar Land, TX 77478                 8410-B Tuscany Way
Capital 2 Thrive                                                      Austin, TX 78754
1801 Broadway, Suite 1350        EMO TRANS
Denver, CO 80202                 Customized Global Logistics          P2BInvestor, Inc.
                                 2322 Grand Ave                       1120 Lincoln Street,
P2BInvestor, Inc.                Baldwin, NY 11510                    Suite 100
1120 Lincoln Street, Suite 100                                        Denver, CO 80203
Denver, CO 80203                 Foshan Genzhuo Electrical
                                 Appliances Co.                       SAN A INDUSTRIAL LIMITED
Kaonoulu Ranch LLP               No.18, Gongye 1st                    Room 1321, Hollywood
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RNC Investors LLC                                                     Shadron Stastney
1800 Route 34                    Frederick Schulman                   392 Taylor Mills Road
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Wall, NJ 07719                   Suffern, NY 10901
                                                                      US Bank
Shadron Stastney                 HQP Electric Industrial Co., Ltd     P.O. Box 790408
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Marlboro, NJ 07746               100 Ma Tau Wai Road
                                 To Kwa Wan, Hong Kong                ZHUHAI LUCKYMAN TECHNOLOGY CO.
                                                                      LTD.
                                 Internal Revenue Service             C/O Andrew B. Totz
                                 955 S. Springfield Avenue, Bldg. A   Totz Ellison & Totz, P.C.
                                 Springfield, NJ 07081                2211 Norfolk, Suite 510
                                                                      Houston, TX 77098
                                 Internal Revenue Service
                                 P.O. Box 21126
                                 Philadelphia, PA 19114-0326
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